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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  LIBERTARIAN NATIONAL
  COMMITTEE, INC.,

                Plaintiff,

  v.                                          Case No. 23-cv-11074

  MIKE SALIBA, RAFAEL WOLF,
  GREG STEMPFLE, ANGELA                       Hon. Judith E. Levy
  THORNTON-CANNY, JAMI
  VAN ALSTINE, MARY
  BUZUMA, DAVID CANNY,
  and JOSEPH BRUNGARDT,

                Defendants.


       DEFENDANTS’ RESPONSE TO MOTION FOR PRELIMINARY
                         INJUNCTION

        The defendants respectfully request that this Court deny the Libertarian

National Committee’s (LNC’s) motion to preliminarily enjoin them from using the

name “Libertarian Party.” The LNC is unlikely to prevail on its claims under the

Lanham Act for at least three reasons, and the equities do not otherwise favor

granting its requested relief.

        First, the Sixth Circuit has held that the Lanham Act would run afoul of the

First Amendment’s free-speech protections if construed to apply beyond the limited

context of commercial speech. Taubman Co. v. Webfeats, 319 F.3d 770, 774 (6th Cir.



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2003). As a result, noncommercial political speech is outside the scope of the statute

and cannot constitute trademark infringement. See Radiance Found., Inc. v. Nat’l Ass’n

for Advancement of Colored People, 786 F.3d 316, 327 (4th Cir. 2015) (“trademark

infringement is not designed to protect mark holders from consumer confusion about

their positions on political or social issues”); All. for Good Gov’t v. Coal. for Better Gov’t,

901 F.3d 498, 506 n.8 (5th Cir. 2018) (citing cases in the Taubman line and suggesting,

without reaching the issue, that the Lanham Act does not apply to political speech);

Tax Cap Committee v. Save Our Everglades, 933 F. Supp. 1077, 1080 (S.D. Fla. 1996)

(circulating initiative petitions is not a “service” for purposes of the Lanham Act); cf.

Buckley v. Valeo, 424 U.S. 1, 14 (1976) (noting that political speech, including

contributing and soliciting contributions to political campaigns, is among “the most

fundamental First Amendment activities”). Because the allegedly infringing speech

and activities identified in the complaint in this case are purely political in nature,

the LNC’s claims fail as a matter of law.

       Second, even if the Lanham Act applies, the defendants have a contractual right

to use the name “Libertarian Party” and therefore are not infringing the LNC’s mark

by doing so. As explained in the accompanying brief, the defendants are all members

of the Libertarian Party of Michigan (LPM), and as such are authorized to use the

LNC’s marks under article 5 of the bylaws of the Libertarian Party. The LNC’s claim

that it has “constructively disaffiliated” the defendants is contrary to the plain



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language of the bylaws, which require a ¾ supermajority vote for disaffiliation and

prohibit the LNC from abridging the autonomy of state-level affiliates.

      Third, the defendants’ use of the name “libertarian party” is not likely to

confuse potential LPM donors and dues payers. The ongoing governance dispute

within the LPM is well known within libertarian circles. It has been covered in

mainstream publications as well as publications focusing specifically on libertarian

politics, and has been explained to the LPM membership in numerous direct

communications from defendants Saliba and Brungardt. Further, the defendants

and their supporters not only acknowledge — but expressly emphasize — the fact

that the LNC has backed their rival faction. The evidence strongly suggests that

many individuals who have donated to the defendants did so at least in part because

they believe the LNC’s interference with a state-level affiliate is inappropriate and

contrary to the Libertarian Party bylaws.

      Finally, even if the LNC could establish a likelihood of success on the merits,

the equities would still weigh against enjoining the defendants from using the name

“Libertarian Party” while this case proceeds. Doing so would substantially

undermine the defendants’ claim that they are they are the legitimate elected leaders

of the LPM, and would therefore constitute unwarranted judicial interference in the

affairs of a political party. See Heitmanis v. Austin, 899 F.2d 521, 525 (6th Cir. 1990)

(“Courts have historically been reluctant to intervene in intra-party disputes.”).



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Moreover, to the extent the defendants have violated state law or federal campaign-

finance law through their use of the name (as the LNC erroneously claims), any such

violation would be more appropriately addressed in the pending state court action

regarding LPM’s internal governance dispute or in the pending matter that LNC

chair Angela McArdle has filed with the Federal Election Commission.

      For these reasons, as set forth more fully in the accompanying brief,

Defendants respectfully request that the Court deny plaintiff’s motion for a

preliminary injunction.


DATED: July 10, 2023                  Respectfully submitted,

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             IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

 LIBERTARIAN NATIONAL
 COMMITTEE, INC.,

             Plaintiff,

 v.                                       Case No. 23-cv-11074

 MIKE SALIBA, RAFAEL WOLF,
 GREG STEMPFLE, ANGELA                    Hon. Judith E. Levy
 THORNTON-CANNY, JAMI
 VAN ALSTINE, MARY
 BUZUMA, DAVID CANNY,
 and JOSEPH BRUNGARDT,

             Defendants.




  DEFENDANTS’ BRIEF IN SUPPORT OF RESPONSE TO MOTION
             FOR PRELIMINARY INJUNCTION
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                              ISSUES PRESENTED

      1.     Whether the Lanham Act extends to noncommercial political speech

like soliciting political donations, filing campaign-finance paperwork, and

disseminating political articles and information.

                   Plaintiff answers:                      Yes

                   Defendants answer:                      No

                   This Court should answer:               No

      2.     Whether the LNC can “constructively disaffiliate” LPM members,

without following the disaffiliation process in article 5 of the Libertarian Party

bylaws, as a means of taking sides in an intraparty state-level governance dispute.

                   Plaintiff answers:                      Yes

                   Defendants answer:                      No

                   This Court should answer:               No

      3.     Whether the defendants’ use of the name “Libertarian Party” is likely

to confuse potential LPM donors and dues payers, given the extensive effort

defendants have made to inform LPM members of the ongoing intraparty

governance dispute and the LNC’s backing of a rival faction.

                   Plaintiff answers:                      Yes

                   Defendants answer:                      No

                   This Court should answer:               No



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      4.    Whether the equities favor granting a broad injunction that would

prohibit the defendants from using the name of the political party to which they

belong and in which they serve as elected leaders.

                   Plaintiff answers:                  Yes

                   Defendants answer:                  No

                   This Court should answer:           No




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                           CONTROLLING AND MOST
                          APPROPRIATE AUTHORITIES
Argument A.1:
All. for Good Gov’t v. Coal. for Better Gov’t,
     998 F.3d 661 (5th Cir. 2021) (Dennis, J., dissenting).
All. for Good Gov’t v. Coal. for Better Gov’t, 901 F.3d 498 (5th Cir. 2018).
Buckley v. Valeo, 424 U.S. 1 (1976)
Radiance Found., Inc. v. Nat’l Ass’n for Advancement of Colored People,
    786 F.3d 316 (4th Cir. 2015).
Taubman Co. v. Webfeats, 319 F.3d 770 (6th Cir. 2003).
Argument A.2:
Libertarian Party Bylaws, article 5.
Argument A.3:
Homeowners Grp., Inc. v. Home Mktg. Specialists, Inc.,
   931 F.2d 1100 (6th Cir. 1991).
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Argument B:
Carey v. Fed. Election Comm’n, 791 F. Supp. 2d 121 (D.D.C. 2011).
Heitmanis v. Austin, 899 F.2d 521 (6th Cir. 1990).




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                                   INTRODUCTION

       In moving for a preliminary injunction, the LNC claims that this “is a

straightforward case of trademark infringement.” ECF 12, Page I.D. 385. But even

a cursory review of the complaint reveals that’s not so. Unlike in an ordinary

trademark case, the plaintiff and the defendants are not commercial competitors.

Rather, the defendants are long-time members — and, in the eyes of many, the

rightful leaders — of the political party that serves as the plaintiff’s state-level affiliate.

Given this fact, the LNC’s attempt to use the Lanham Act to silence their political

activity is well beyond the intended scope of the statute and is also contrary to the

bylaws of the Libertarian Party.

                              STATEMENT OF FACTS

A.     The rise and fall of Andrew Chadderdon.

       In the summer of 2022, the two highest ranking officers of the Libertarian

Party of Michigan (LPM) resigned from their leadership positions just weeks before

the party’s candidate nominating convention. Ex. 5 at 2 (Saliba Declaration). In a

letter explaining his decision, former-Chair Tim Yow cited hostility from the third

ranking LPM officer at that time, Mr. Andrew Chadderdon, and concern with the

ideology of the political caucus to which he belonged. Ex. 20 (Yow Letter). That

caucus, known as the Mises Caucus, had just taken control of the national party by




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winning most of the leadership positions on the LNC. Ex. 1 at 7 (Thornton

Declaration).

      As a result of the resignations, Mr. Chadderdon ascended to the position of

acting chair pursuant to the LPM bylaws. Ex. 5 at 2 (Saliba Declaration). Other

members of the LPM executive committee were concerned that Mr. Chadderdon

would not be able to effectively lead the party because of his poor relationship with

party members and his poor performance in his prior role of LPM political director.

Id. at 2–3. Considering these concerns, party leaders notified Mr. Chadderdon in

mid-June that they intended to call a vote-of-no confidence to remove him from the

executive committee during the July 9 convention. Id. at 3. They further indicated

their intent to conduct elections to fill the vacancies on the executive committee

during and asked that written notices of the elections be sent to party members. Id.

      Mr. Chadderdon openly opposed these efforts and attempted to thwart them.

Id. As part of his strategy, he refused to send notices of the elections as requested, so

he could then argue that the elections were improper. Id. In his opening comments

at the convention, Mr. Chadderdon made clear that he had no intention to allow

votes on his removal or on the filling of executive committee vacancies. Id. Instead,

he proposed a convention agenda that did not include either of those items. Id.

      When a motion was made from the floor to approve a substitute agenda that

included both items, Mr. Chadderdon ruled the motion out of order on the grounds



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that a notice of the intent to fill the vacancies had not been given. Id.; Ex. 15 at 1

(July 2022 Convention Minutes). Immediately thereafter, a subsequent motion was

made to appeal Mr. Chadderdon’s ruling to the full assembly on the grounds that

the party customarily allowed items to be added to convention agendas by motion

from the floor. Ex. 5 at 4 (Saliba Declaration); Ex. 15 at 1 (July 2022 Convention

Minutes). Mr. Chadderdon then ruled that motion out of order too, citing a provision

of Robert’s Rules of Order that prohibits the introduction of “frivolous or absurd”

motions. Ex. 15 at 1 (July 2022 Convention Minutes); Ex. 21 at 4 (Robert’s Rules).

      The delegates responded to Mr. Chadderdon’s second ruling by moving to

replace him as convention chair. Ex. 5 at 4 (Saliba Declaration). That motion passed

by a standing vote. Ex. 15 at 1 (July 2022 Convention Minutes). Under the leadership

of the replacement chair, defendant Joe Brungardt, the convention delegates then

proceeded to remove Mr. Chadderdon from the executive committee through a

vote-of-no confidence and to fill the vacancies on the executive committee. Id. at 2–

4. The motion in support of the vote-of-no confidence stated, among other things,

that Mr. Chadderdon had “consistently used the Bylaws and Robert’s Rules as a

weapon against those who oppose him.” Id. at 3. After discussion, a vote on the

motion was called — without any procedural objection from Mr. Chadderdon or

others on the floor — and was approved by over two-thirds of the delegates. Id.

Accordingly, First Vice Chair Brungardt ascended to the position of acting chair,



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and Mike Saliba was elected to the position of first vice chair shortly thereafter. Id at

3. Accordingly, Mr. Brungardt, Mr. Saliba, and the other individuals elected to the

executive committee became the new leadership of the LPM.

B.    Mr. Chadderdon clings to power and splits the state party.

      Following the convention, the newly elected executive committee met and

conducted its work without objection for four months. Ex. 5 at 4 (Saliba Declaration).

Then, in mid-November, Mr. Chadderdon sent a letter to the LPM’s judicial

committee asking it to overturn his removal from the executive committee and to

void the results of the vacancy elections conducted at the convention. ECF No. 12-

29, Page I.D. 527 (Judicial Committee Decision). The judicial committee is a body

created by the LPM bylaws to “decide cases involving alleged violations of the[]

bylaws or resolutions.” Ex. 6 at 6 (LPM Bylaws). At the time it received and acted

on Mr. Chadderdon’s request, it consisted of three of Mr. Chadderdon’s fellow Mises

Caucus members. Ex. 5 at 5 (Saliba Declaration).

      In support of his request to the judicial committee, Mr. Chadderdon alleged

that the votes to remove him from office and fill vacancies at the July convention

were unlawful because the convention was a “special meeting” for purposes of the

bylaws and Robert’s Rules and, as a result, business could only be conducted if it was

specifically referenced in the written document calling the meeting. Id. at 528.

Despite the extensive discussion of procedural issues during the July convention and



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the executive committee meetings leading up to it, no one (including Mr.

Chadderdon) had previously suggested this interpretation of the party’s rules. Ex. 5

at 5 (Saliba Declaration). Moreover, the interpretation is inconsistent with the fact

that candidate nominating conventions are held at specified intervals as provided in

the LPM bylaws, Ex. 6 at 6 (LPM Bylaws), and that the party has historically

considered business items at candidate nominating conventions other than those

listed in the call to convention, see Ex. 5 at 5 (Saliba Declaration).

      In December 2022, the LPM judicial committee considered Mr.

Chadderdon’s request and ruled in his favor. ECF No. 12-29, Page I.D. 535. The

judicial committee not only sided with Mr. Chadderdon on the merits, but also stated

in its opinion that the “Executive Committee shall be reverted to its composition as

of July 8th,” the day before the convention took place. Id.

      The release of the judicial committee opinion created substantial confusion

within the party. Ex. 5 at 5 (Saliba Declaration). Although the judicial committee

had existed for several decades, it had never previously claimed the authority to

overrule decisions made by convention delegates. See id. at 5–6. Further, because the

judicial committee is a “committee,” Robert’s Rules of Order indicates that its proper

role is to “report its findings or recommendations to the assembly,” not to order self-

executing remedies. Id. at 6; Ex. 21 at 6 (Robert’s Rules). Accordingly, while some

members of the executive committee were initially under the impression that they



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had been removed from their committee seats, they eventually concluded that was

not the case. Ex. 5 at 6 (Saliba Affidavit). Rather, they determined that they remained

in their positions unless and until the party’s members adopted the recommendations

of the judicial committee and removed them from office. Id. at 6.

      On February 2, LPM Chair Joe Brungardt described this position in detail in

an email sent to all registered LPM members. Ex. 9 at 1–3 (LPM Emails); Ex. 14 at 9

(michiganlp.net Printouts). After explaining that the appropriate role of a committee

is to issue recommendations to the broader assembly, Mr. Brungardt stated:

      [T]he Judicial Committee has no authority to overrule the delegates of
      a convention body. Therefore, should the Executive Committee believe
      that the Judicial Committee is overstepping its authority, it is incumbent
      upon the Executive Committee to assert the rights of its members in
      opposition to the Judicial Committee if necessary.

Ex. 9 at 2 (LPM Emails). In order to exercise this responsibility, Mr. Brungardt

announced that the party would hold a convention on April 1 so that party members

could discuss the judicial committee’s recommendations. Id. at 1–2.

      Meanwhile, Mr. Chadderdon began acting as if the judicial committee’s

opinion was self-executing. Ex. 5 at 6. Sometime in early 2023, he began conducting

so-called “executive committee” meetings of his own with a committee consisting of

his political allies. Id. As a result of these actions, a contentious governance dispute

emerged within the party, dividing its members into two factions. Id.




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C.    The LNC backs Mr. Chadderdon, “constructively disaffiliates”
      LPM’s elected leaders, and threatens to sue them for trademark
      infringement.

      A few days after Mr. Brungardt sent his email to the LPM membership, the

LNC met in executive session to discuss the emerging leadership dispute in Michigan

and similar disputes in other state-level affiliates. See Ex. 5 at 5 (LNC Minutes –

February 2022); see also Ex. 12 (Daily Beast Article) (describing governance disputes in

other states since the Mises Caucus took control of the LNC). Then, on February 16,

LNC Chair Angela McArdle sent a letter to Mr. Brungardt informing him that the

LNC “recognized” Mr. Chadderdon as the rightful chair of the LPM and that it

viewed the executive committee chaired by Mr. Brungardt as “a different political

party” that was not a state-level affiliate of the Libertarian Party. ECF No. 12-10,

Page I.D. 474–475 (McArdle Letter). Ms. McArdle further stated that, as officers of

a separate political party, Mr. Brungardt and the other members of his committee

were not entitled to use the Libertarian Party’s trademarks and would be sued for

trademark infringement if they continued to do so. Id.

      Importantly, Ms. McArdle’s letter did not indicate that the LNC voted to

disaffiliate the LPM, which requires a ¾ vote for good cause under the Libertarian

Party bylaws. See id.; see also ECF No. 12-7, Page I.D. 454 (LP Bylaws). Nor did it

explain how the LNC had the authority to take sides in a state-level governance

dispute given the language in the bylaws stating that the “autonomy of the affiliate



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and sub-affiliate parties shall not be abridged by the National Committee . . . .” Id.

In subsequent correspondence, the LNC has asserted the power to “constructively

disaffiliate” individual members and groups of members within state-level affiliates,

even though that power is not mentioned in the bylaws. See Ex. 10 (Zito Email).

D.    LPM’s elected leaders fight back against the LNC with broad
      support from party members in and out of state.

      After receiving Ms. McArdle’s letter, the LPM’s elected leaders continued

preparations for the April 1 convention in Lansing as planned. A total of 66 delegates

attended the convention, which was 6 more than had attended the last convention

before the split in the party occurred. Compare Ex. 8 at 1 (April 2023 Draft

Convention Minutes), with Ex. 15 at 1 (July 2022 Convention Minutes). At the

convention, defendant Mike Saliba, who had taken over as acting chair of the elected

leadership, see Ex. 5 at 1, gave a detailed update on the governance dispute with Mr.

Chadderdon, including a dispute over the funds in LPM’s deposit accounts with

Comerica Bank.1 Ex. 8 at 1–2 (April 2023 Draft Convention Minutes). In doing so,

Mr. Saliba explained that the LNC recognized Mr. Chadderdon as LPM chair and

viewed his chairmanship as illegitimate. Id. at 12. Nevertheless, the delegates at the

convention expressed their support for Mr. Saliba by electing him by acclamation to

continue serving as LPM chair. Id. at 10. The delegates also adopted a motion, by a


1 The funds in the deposit accounts are now subject to an interpleader lawsuit

pending in Washtenaw County Circuit Court. See Ex. 7 (Comerica Complaint).

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vote of 58 to 4, indicating that they would affirm the removal of Andrew

Chadderdon from the executive committee if it were necessary to do so. Id. at 16.

      As part of their effort to fight back against Mr. Chadderdon’s continued claims

to party leadership, LPM’s elected leadership setup the michiganlp.net website. This

was necessary because Mr. Chadderdon’s faction had control of LPM’s historic

domain name, michiganlp.org. See ECF No. 12, Page I.D. 421 (Harlos Declaration).

The michiganlp.net website includes several articles explaining the ongoing

governance dispute with Mr. Chadderdon and expressly acknowledges that the LNC

supports   Mr.    Chadderdon.      Ex.    14   (michiganlp.net    Printouts).   These

acknowledgements were echoed in email communications that Mr. Saliba has sent

to the members of LPM over the last few months. See Ex. 9 at 7–12 (LPM Emails).

      In addition, recognizing the potential for legal action relating to the

governance dispute, LPM’s elected leadership began fundraising for legal expenses.

This effort began by directly soliciting known supporters in early February 2023, and

has since grown into a nationwide operation with multiple avenues for donating

online. One of those avenues is through the michiganlpm.net website. As described

in detail in declarations accompanying this brief, supporters of the elected leadership

have driven significant traffic to the payment link on the website through posts on

various social media platforms. See, e.g., Ex. 1 at 5 (Thornton Declaration). Many of




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those posts expressly reference the elected leadership’s dispute with the LNC, as

shown on the next page:




See id. at 5–6; Ex. 2 at 2–3 (Warzybok Declaration); Ex. 3 at 3–4 (Ellison Declaration).

Further, the attached spreadsheet of LPM donations shows that donations to the

legal defense fund were often received within days after LNC meetings where the

LNC took action in support of the Chadderdon faction. See Ex. 1 at 6 (Thornton

Declaration); Ex. 23 (Donation Spreadsheet). Nevertheless, even though the

defendants are confident that their donors understand the antagonistic relationship

they have with the LNC, they recently (in an abundance of caution) posted the

following disclaimer on the legal defense fund donation page on michiganlp.net:




Ex. 14 at 1 (michiganlp.net Printouts). Similarly, Treasurer Thornton and others

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setup a new fundraising website, lncfight.org, that describes the LNC’s interference

in the LPM governance dispute in even further detail and asks supporters to “defend

the rights of libertarians across this country from National overreach.” Ex. 1 at 7

(Thornton Declaration); Ex. 13 at 2–3 (lncfight.org Printouts). Through these various

efforts and websites, the defendants have received approximately 100 donations into

the legal defense fund, with approximately 70 of those coming from donors who

reside out of state. Ex. 23 (Donation Spreadsheet).

                              LEGAL STANDARD

      “[P]reliminary injunctions are extraordinary remedies governed by the

following considerations: (1) whether the movant has a strong likelihood of success

on the merits, (2) whether the movant would suffer irreparable injury absent a stay,

(3) whether granting the stay would cause substantial harm to others, and (4) whether

the public interest would be served by granting the stay.” Ohio Republican Party v.

Brunner, 543 F.3d 357, 361 (6th Cir. 2008) (cleaned up). “The party seeking [a]

preliminary injunction bears the burden of justifying such relief.” McNeilly v. Land,

684 F.3d 611, 615 (6th Cir. 2012).

                                  ARGUMENT

A.    Injunctive relief is not warranted because the LNC is unlikely to
      succeed on the merits of its claims.

      1.     The noncommercial speech and activities of a political
             organization are outside the scope of the Lanham Act.



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       The Sixth Circuit, like at least four others, has held that the Lanham Act

would run afoul of the First Amendment’s free-speech protections if construed to

apply beyond the limited context of commercial speech. Taubman Co. v. Webfeats, 319

F.3d 770, 774 (6th Cir. 2003); see also All. for Good Gov’t v. Coal. for Better Gov’t, 901 F.3d

498, 406 n.8 (5th Cir. 2018) (citing cases). Accordingly, courts in this circuit must

keep the First Amendment in mind when construing the various terms that trigger

coverage under the Act, such as “use in commerce,” “in connection with,” and

“goods and services.” See Radiance Found., Inc. v. Nat’l Ass’n for Advancement of Colored

People, 786 F.3d 316, 322–24 (4th Cir. 2015) (holding that First Amendment’s

commercial speech doctrine provides “the best guidance in applying the Act.”).

       In implementing this principle, courts have rejected trademark claims in a

variety of situations where the allegedly infringing use constituted noncommercial

speech under the First Amendment. For example, in Savannah College of Art and Design,

Incorporated v. Houeix, 369 F. Supp. 2d 929 (S.D. Ohio 2004), the court rejected a

trademark claim involving a website that contained information for foreign students

about the American education system, including critiques of the school that the

plaintiff operated. In doing so, the court noted that the defendant’s website was a

“gripe site” with no paid advertising, and concluded that the First Amendment

precluded the imposition of trademark liability for this type of protected

noncommercial speech. Id. at 947–48. Similarly, another court within the circuit has



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held that the Act does not apply to high school coaches who used plaintiff’s “Winning

Isn’t Normal” trademark to teach their student athletes life lessons, even if the

coaches also engaged in fundraising activity. Bell v. Worthington City Sch. Dist., No.

2:18-cv-961, at *12-13 (S.D. Ohio June 2, 2020).

      While it does not appear that any court in the Sixth Circuit has had the

opportunity to consider Taubman in the context of a political organization, Taubman

clearly precludes the use of the Lanham Act to silence political speech. As the

Supreme Court has emphasized, political speech, including contributing and

soliciting contributions to political campaigns, is among “the most fundamental First

Amendment activities.” See Buckley v. Valeo, 424 U.S. 1, 14 (1976). Accordingly, the

Lanham Act cannot be read to extend to activities like disseminating political

information, promoting political candidates, or soliciting political donations, because

doing so would extend the statute far beyond the context of commercial speech and

would subject it to strict — rather than intermediate — scrutiny.

      Notably, in a recent case involving similar issues, several judges on the Fifth

Circuit suggested that Taubman compels this result. First, in a 2018 opinion, a three-

judge panel noted that the “interplay between the Lanham Act and the First

Amendment’s political and commercial speech doctrines raises a thicket of issues.”

All. for Good Gov’t, 901 F.3d at 506 n.8 (5th Cir. 2018). The panel specifically noted a

circuit split in which the Sixth Circuit and at least four others had held that the Act



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applies only to the noncommercial use of marks, while the Second Circuit has held

otherwise and applied it to purely political uses. Id. Specifically, in United We Stand

Am., Inc. v. United We Stand Am. N.Y., Inc., 128 F.3d 86, 88 (2d Cir. 1997), the Second

Circuit held that political fundraising and making political endorsements are

“services” for purposes of the Lanham Act and can therefore give rise to liability.

Ultimately, the 2018 panel determined that it was unnecessary for the Fifth Circuit

to weigh in on this circuit split, because the defendants in the case had not properly

raised the issue at the district court level. All. for Good Gov’t, 901 F.3d at 506 n.8.

       Three years later in a subsequent appeal in the same case, Judge Dennis

criticized the 2018 opinion for ducking the question, which he believed was

necessarily implicated by plaintiff’s theory of liability. All. for Good Gov’t v. Coal. for

Better Gov’t, 998 F.3d 661, 674 n.4 (5th Cir. 2021) (Dennis, J., dissenting). Judge

Dennis then went onto explain why, in his view, applying the Lanham Act to

noncommercial political speech was so “clearly erroneous and manifestly unjust”

that the latter panel could correct the prior error. Id. at 677 n.7. In doing so, he

emphasized that the Second Circuit is the “sole outlier court in an otherwise uniform

line of federal appellate authority holding that the Lanham Act does not apply to

noncommercial speech,” and further asserted that the Second Circuit was “incorrect

that purely political speech is a ‘service’ under the Lanham Act.” Id. at 677 n.5. He




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then further criticized the Second Circuit’s decision for its potential to “stifl[e] the

political speech that is key to the functioning of our democracy.”

      For its part, the LNC’s theory of liability in this case relies principally on the

Second Circuit’s decision in United We Stand. See ECF No. 1, Page I.D. 11 (Complaint)

(alleging infringement in connection with services such as “political party

communications, political party activities, political press activity, political candidate

screenings, official filing and registrations and endorsements”). This Court should

decline the LNC’s invitation to extend that decision into this circuit, because doing

so would be plainly contrary to Taubman and would infringe the defendants’ free-

speech rights. Moreover, to the extent that the Second Circuit’s decision was based

on the policy concern that the absence of Lanham Act protection in this context

would be “impractical for the functioning of our political system,” United We Stand,

128 F.3d at 90, that concern is misplaced. If Congress believes that legislation is

necessary to avoid public confusion in the areas of political speech and political

fundraising, it can enact appropriate legislation under the Elections Clause and does

not need to stretch its authority under the Commerce Clause. Indeed, Congress has

already enacted a statute that prohibits fraudulent misrepresentation in political

fundraising, 52 U.S.C. § 30124(b)(1), and the LNC is already pursuing claims under

that statute before the FEC. Ex. 11 (FEC Complaint).

      2.     Even if the Lanham Act applies, the defendants have the
             contractual right to use the name “Libertarian Party”

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              because they are members of the LNC’s state-level affiliate,
              and because the LNC lacks the power of “constructive
              disaffiliation.”

       As acknowledged in its complaint, the LNC was incorporated in the District

of Columbia and has its principal offices in Virginia. ECF No. 1, Page I.D. 1

(Complaint). Under the law in both those jurisdictions, “the formal bylaws of an

organization are to be construed as a contractual agreement between the

organization and its members.” Meshel v. Ohev Sholom Talmud Torah, 869 A.2d 343,

361 (D.C. 2005); accord Gottlieb v. Economy Stores, 102 S.E.2d 345, 351 (Va. 1958). The

defendants in this case are all members of the LPM, which is the state-level affiliate

of the LNC. See Ex. 4 at 2, 4 (Van Alstine Declaration). As such, they have

contractual rights under the Libertarian Party bylaws, several provisions of which

are relevant to the dispute in this case.

       First, article 5, section 1 of the bylaws provides” “No person, group, or

organization may use the name ‘Libertarian Party’ or any confusingly similar

designation except the Party or an organization to which the Party grants affiliate

party status or as otherwise provided in these bylaws.” ECF No. 12-7, Page I.D. 454

(LP Bylaws). In light of this, the LNC admits that “chartered affiliates are licensed to

use the LNC’s federally registered trademarks.” ECF No. 1, Page I.D. 3 (Complaint).

       Second, article 5, section 6 of the bylaws prescribes a process for the

disaffiliation of affiliate parties, stating in pertinent part:



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      The National Committee shall have the power to revoke the status of
      any affiliate party, for cause, by a vote of 3/4 of the entire National
      Committee. A motion to revoke the status of an affiliate party for cause
      must specify the nature of the cause for revocation. [ECF No. 12-7,
      Page I.D. 454 (LP Bylaws)].

      Third, article 5, section 5 provides in its entirety: “The autonomy of the

affiliate and sub-affiliate parties shall not be abridged by the National Committee or

any other committee of the Party, except as provided by these bylaws.” Id. Further,

no other provision of the bylaws authorizes the LNC to choose between competing

factions in a governance dispute within an affiliate party. See id. at 453–61.

      When read together, the three provisions above debunk the LNC’s claim that

it can “constructively disaffiliate” members of state-level parties and thereby prohibit

them from using its trademarks. The bylaws prescribe a single procedure for

disaffiliation that: (1) applies only to parties as a whole, not to individual members;

(2) requires a ¾ supermajority vote of the LNC; and (3) can be invoked only for

cause. Id. at 454. Because this is the only disaffiliation procedure mentioned, ordinary

principles of interpretation compel the conclusion that it’s the exclusive procedure.

See Millsaps v. Thompson, 259 F.3d 535, 546 (6th Cir. 2001) (“When a statute limits a

thing to be done in a particular mode, it includes the negative of any other mode.”)

      Article 5, section 5’s prohibition on abridging the autonomy of state-level

parties further reinforces this reading. Considering that provision, it is implausible

that the drafters of the bylaws intended for the LNC to have the sweeping implied



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power of “constructive disaffiliation” that it claims. As demonstrated here, the

existence of such a power would allow the LNC chair (or at least a bare majority of

the LNC) to arbitrarily choose which members of state-level parties are allowed to

call themselves members of the “Libertarian Party.” Under any reasonable reading

of the bylaws, this would abridge the autonomy of state-level parties to govern

themselves and enroll their own members, and it is therefore plainly prohibited.

       Accordingly, because Ms. McArdle’s “constructive disaffiliation” letter to Mr.

Brungardt exceeded her powers under the bylaws, it was ineffective in revoking the

defendants’ contractual license to use the LNC’s marks. See, e.g., Sheriff v. Medel Elec.

Co., 412 A.2d 38, 41 (D.C. 1980) (explaining that the termination of a contract is

ineffectual if proper procedures are not followed). This case is therefore

distinguishable from the two principal cases on which the LNC relies, both of which

involved situations where the trademark holder followed the applicable revocation

procedures. See United States Jaycees v. Phildelphia Jaycees, 639 F.2d 134, 146 (3d Cir.

1981) (“This action . . . does not directly challenge the . . . revocation of the charter.);

Republican Nat’l Comm. v. Canegata, 3:22-cv-0037, at *13 (D.V.I. Aug. 10, 2022).

       3.     The defendants’ use of the name “Libertarian Party” is not
              confusing because potential donors and dues payers are
              aware of the governance dispute within the state party and
              understand that the LNC supports Mr. Chadderdon.

       In determining whether a likelihood of confusion exists, this Court considers

the following factors: (1) the strength of the plaintiff’s mark, (2) the relatedness of the


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goods or services offered by the plaintiff and the defendant, (3) the similarity of the

marks, (4) any evidence of actual confusion, (5) the marketing channels used by the

parties, (6) the probable degree of purchaser care and sophistication, (7) the

defendant’s intent in selecting its mark, and (8) the likelihood of either party

expanding its product line using the marks. Innovation Ventures, LLC v. N.V.E., Inc., 694

F.3d 723, 731 (6th Cir. 2012). Under this test, the “ultimate question” is “whether

relevant consumers are likely to believe that the products or services offered by the

parties are affiliated in some way.” Homeowners Grp., Inc. v. Home Mktg. Specialists, Inc.,

931 F.2d 1100, 1107 (6th Cir. 1991).

       This case is so far outside the intended scope of trademark law that it is difficult

to discuss some of these factors intelligibly. To begin, since LPM is a political party

that engages in political rather than commercial activity, the task of defining its

relevant “consumers” presents an essentially hypothetical question. The defendants

contend that the closest thing LPM has to “consumers” are the individuals who make

payments to the party either through donations or membership dues. Cf. Radiance

Found, 786 F.3d at 327 (4th Cir.) (“trademark infringement is not designed to protect

mark holders from consumer confusion about their positions on political or social

issues”). As a matter of common sense, these individuals are far more likely than the

general public to follow Libertarian Party politics and to be aware of the intraparty

disputes that have arisen both in Michigan and in other states since the Mises Caucus



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took control of the LNC in 2022. See, e.g., Ex. 5 at 6–7 (Saliba Declaration) (describing

evidence that supporters and donors are fully informed); Ex. 1 at 6–8 (Thornton

Declaration) (same). They would therefore be likely to exercise a high degree of “care

and sophistication” when donating or paying membership dues to the party, so as

not to accidently support factions that they oppose.

      A similar conceptual problem exists with respect to the fourth factor —

evidence of actual confusion. Because the defendants are LPM members and LPM

is currently a recognized affiliate of the Libertarian Party, see Ex. 4 at 2, 4 (Van

Alstine Declaration), an individual who believes that the defendants’ political services

are affiliated with the LNC is not “actually confused,” but is instead correct in that

belief. As a result, the most that the plaintiff can possibly show with respect to this

factor is confusion as to whether the LNC supports Mr. Saliba or Mr. Chadderdon

in the ongoing intraparty governance dispute.2 That’s a fundamentally different

question than what trademark law typically asks. See Homeowners Grp., 931 F.2d at

1107 (defining the “ultimate question” in trademark cases). Accordingly, even if the

LNC can show confusion regarding its position in the governance dispute, that does

not amount to confusion regarding the affiliation between the LNC and the political


2 The videoclip referenced in the LNC’s brief arguably constitutes evidence of such

confusion on the part of 1 of the 66 delegates at the April 2023 convention. See ECF
No. 12, Page I.D. 399 (Plaintiff’s Brief). The videoclip, as quoted in the brief, also
shows that Mr. Saliba immediately dissipated any confusion by responding that
“Andrew (Chadderdon) is the chair of the board that they recognized.” Id.

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services performed by LPM members. Moreover, the evidence shows that many of

the donations to the LPM legal defense fund were made shortly after LNC meetings

at which the LNC discussed and took various actions in support of Mr.

Chadderdon’s claim to be the rightful chair of the LPM. Ex. 1 at 6 (Thornton

Declaration); Ex. 23 (Donation Spreadsheet). The timing of these donations, along

with the content of the social media posts that appears to have driven them, strongly

suggests that many individuals who donated to the defendants did so at least in part

because they believe the LNC’s interference with a state-level affiliate is

inappropriate and contrary to the Libertarian Party bylaws — not because of any

confusion about the relationship between the LNC and the defendants. see, e.g., Ex.

2 at 2–3 (Warzybok Declaration); Ex. 3 at 3–4 (Ellison Declaration). For these

reasons, the fourth factor weighs in favor of the defendants to the extent it applies.

       The remaining factors are more directly applicable to this case, and at least

three of them strongly weigh in favor of the defendants. First, the mark “Libertarian

Party” is quite weak, despite its incontestable status. See Progressive Distribution Servs.,

Inc. v. United Parcel Serv., Inc., 856 F.3d 416, 428–30 (6th Cir. 2017) (explaining that

incontestable status gives rise to a rebuttable presumption of strength). In terms of

conceptual strength, the mark is merely descriptive at most, and arguably even

generic. For purposes of trademark law, a merely descriptive mark is one that

describes the qualities or characteristics of a good or service. Nartron Corp. v.



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Stmicroelectronics, Inc., 305 F.3d 397, 404 n.7 (6th Cir. 2002). The phrase “libertarian

party” certainly doesn’t do any more than this, since the word “libertarian” is a

common term for describing a political ideology that seeks to maximize individual

rights and minimize the role of the state. See THE AMERICAN HERITAGE

DICTIONARY OF THE ENGLISH LANGUAGE (5th ed.). As a result, an ordinary English

speaker would understand the phrase “libertarian party” to mean a political party

that advocates policies aligning with this ideology, and would only associate it with a

particular political party to the extent the speaker was aware its secondary meaning.

      Second, the marketing channels that the defendants and their supporters use

are unlikely to cause confusion, because the defendants have been honest and

transparent about their relationship with the LNC throughout the governance

dispute. As described above, Mr. Saliba has sent multiple emails to the full

membership of the LPM describing the governance dispute and acknowledging that

the LNC supports Mr. Chadderdon’s claim to power. Ex 9 (LPM emails). Similar

acknowledgments appear in articles in the “News” page of the michiganlp.net

website, Ex. 14 at 5–9 (michiganlp.net Printouts), and many of the social media posts

that have driven donations to the defendants’ legal defense fund expressly reference

the LNC or this trademark suit, see, e.g., Ex. 1 (Thornton Declaration). Finally, and

perhaps most notably, the defendants recently added a disclaimer to the “Donation”

pages on michiganlp.net that describes the governance dispute in detail, provides a



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link to the Chadderdon faction’s website, and states that “the Libertarian National

Committee (LNC) . . . has thrown its support behind Mr. Chadderdon.” Ex. 14 at

1–2 (michiganlp.net Printouts). This Court has held that the use of such disclaimers

can be effective in presenting consumer confusion. See Taubman, 319 F.3d at 776–77.

      Third, the seventh factor weighs in favor of the defendants because the

defendants do not use the name “Libertarian Party” with the intent to

misappropriate the LNC’s mark. Rather, the defendants are longtime members of

the Libertarian Party of Michigan and have a good faith claim to being its elected

leaders. The evidence shows that a substantial number of LPM members support

that claim, which strongly counsels against any finding of malintent. See e.g., Ex 8 at

1 (April 2023 Draft Convention Minutes) (noting 66 delegates in attendance).

B.    Even if the LNC were likely to prevail on the merits, the equities
      weigh against the broad preliminary injunction it seeks.

      Setting aside the LNC’s likelihood of prevailing on the merits, this Court

considers three other factors in determining whether to grant the extraordinary

remedy of a preliminary injunction. All three factors counsel against doing so.

      First, because the LNC has not sufficiently demonstrated that individuals who

might be inclined to donate or pay membership dues to the party are likely to be

confused by the defendant’s use of the name “Libertarian Party,” they have not

established that they would suffer an irreparable injury absent a preliminary

injunction. Because potential donors and party members are generally aware of the


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intraparty dispute, they are unlikely to mistakenly provide financial support to rival

factions within the party. Indeed, Ms. Thornton, LPM’s elected treasurer, has

indicated that no one who provided financial support to the defendants since the

governance dispute began has requested a refund or otherwise informed her that

they were confused about the relationship between the defendants and the LNC. Ex.

1 at 7 (Thornton Declaration). Moreover, to the extent the defendants are violating

state law or federal campaign-finance law through their fundraising efforts (as the

LNC erroneously contends), any such violation could be addressed in the Comerica

Bank case or in the pending matter before the FEC.

      Second, if this Court were to grant a preliminary injunction barring the

defendants from using the name “Libertarian Party,” it could cripple them in the

ongoing governance dispute and the related legal matters referenced above. One of

the more significant assets the defendants have in these matters is the broad support

they enjoy from the party’s membership. If the defendants are precluded from even

referring to the name of the party, however, they could lose credibility in the eyes of

the membership and their support could dwindle. Moreover, the inability to refer to

themselves as the “Libertarian Party” could hamstring the defendants’ fundraising

efforts, including efforts to raise funds to continue defending this lawsuit.

      Third, granting a preliminary injunction would be contrary to the public

interest in at least two distinct ways. For one, in light of the constitutional values



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embodied in the First Amendment, it is well established that the “public interest is

supported by protecting the right to speak, both individually and collectively.” Carey

v. Fed. Election Comm'n, 791 F. Supp. 2d 121, 136 (D.D.C. 2011). Accordingly, if this

Court has any doubt that the defendants’ use of the name “Libertarian Party” in

connection with their political activities may be outside the scope of the Lanham Act,

it should err on the side of protecting the defendants’ free-speech rights while this

suit is pending. In addition, the Sixth Circuit has recognized that courts “have

historically been reluctant to intervene in intra-party disputes.” Heitmanis v. Austin,

899 F.2d 521, 525 (6th Cir. 1990). Granting the LNC’s requested injunction would,

in effect, allow one faction within the LPM to continue calling itself the “Libertarian

Party of Michigan” while prohibiting the other faction from doing so. This Court

should refrain from that type of intervention unless and until the LNC conclusively

establishes its entitlement to relief in this case, which it has not done thus far.

                                   CONCLUSION

      For these reasons, the Defendants respectfully request that this Court deny the

LNC’s motion for a preliminary injunction.

DATED: July 10, 2023                     Respectfully submitted,

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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

  LIBERTARIAN NATIONAL
  COMMITTEE, INC.,

               Plaintiff,

  v.                                            Case No. 23-cv-11074

  MIKE SALIBA, RAFAEL WOLF,
  GREG STEMPFLE, ANGELA                         Hon. Judith E. Levy
  THORNTON-CANNY, JAMI
  VAN ALSTINE, MARY
  BUZUMA, DAVID CANNY,
  and JOSEPH BRUNGARDT,

               Defendants.


                             CERTIFICATE OF SERVICE

       I hereby certify that on July 10, 2023, I electronically filed the foregoing paper

with the Clerk of the Court using the ECF system which will send notification of such

filing to counsel of record.


DATED: July 10, 2023                     Respectfully submitted,

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